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               EXHIBIT A
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FAULKNER, Anna

From:                                   MURRAY, Sean
Sent:                                   Monday, March 11, 2024 11:47 AM
To:                                     Serina Vash; John Herman; CJ Jones; Candace Smith
Cc:                                     SESSIONS, Justina (JKS); MCCALLUM, Robert; Reiser, Craig M.; Yung, Eva H.; Boisvert,
                                        Caroline P.; $US MDL Discovery-Associates
Subject:                                In re Google Digital Advertising Antitrust Litigation, 1:21-md-03010-PKC (S.D.N.Y.)


Counsel,

Consistent with the Court’s prior orders following dismissal rulings in the MDL, we would like to agree on and propose
to the Court a process to streamline matters following the Court’s recent dismissal ruling on Google’s motion to
dismiss Inform’s Second Amended Complaint (ECF No. 709). We’d like to avoid any ambiguity or confusion about
deadlines and what claims remain in the case. To that end, we propose the following for Inform.

    1. By Thursday, March 21, Inform will file a conforming amended complaint, which clarifies the narrowed scope
       of Inform’s claims based on Judge Castel’s ruling dismissing certain claims.
    2. To the extent that Inform still intends to advance state-law claims, the parties will enter into a stipulation
       agreeing that state-law claims are deemed dismissed on the basis provided by Judge Castel’s dismissal ruling
       in ECF No. 709.
    3. 15 days following agreement on the stipulation and/or conforming amendments (whichever is later), Google
       may file a letter brief seeking to dismiss Inform’s state-law claims.
    4. Google’s deadline to answer a complaint will be 30 days from the latest of 1. or 2. or, if Google requests leave
       to move to dismiss Inform’s state-law claims, 30 days from resolution of such request or subsequent motion.

We have already corresponded with the other MDL plaintiffs regarding a similar proposal and are filing a related letter
with the Court at 5pm today. As a result, please let us know promptly, and no later than 4pm ET this afternoon, if
Inform is amenable to this proposal. If so, we will draft a proposed stipulation and order outlining the above.

Kind regards,

Sean

Sean Murray
Senior Associate

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